

People v Paniagua (2021 NY Slip Op 05096)





People v Paniagua


2021 NY Slip Op 05096


Decided on September 28, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 28, 2021

Before: Acosta, P.J., Singh, Kennedy, Mendez, Higgitt, JJ. 


Ind No. 1821/18 Appeal No. 14225 Case No. 2020-01306 

[*1]The People of the State of New York, Respondent,
vJoshua Paniagua, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (David J. Klem of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Jonathan Canterero of counsel), for respondent.



Judgment, Supreme Court, New York County (Barry Warhit, J.), rendered June 11, 2019, convicting defendant, upon his plea of guilty, of attempted arson in the second degree, and sentencing him to a term of 3½ years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the postrelease supervision component of the sentence from five years to 2½ years, and otherwise affirmed.
We find the sentence excessive to the extent indicated. The record does not establish a valid appeal waiver.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 28, 2021








